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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                          CASE NUMBER: 8:14CR155-003
                         Plaintiff,                       USM Number: 26655-047

        vs.
                                                          MATTHEW R. KAHLER
JUAN MOYA                                                 DEFENDANT’S ATTORNEY

                         Defendant.

                                     JUDGMENT IN A CRIMINAL CASE
                           (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count VI of the Third Superseding Indictment on April 10, 2015.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

         Title, Section & Nature of Offense                  Date Offense Concluded           Count Number

21:841(a)(1) and 21:841(b)(1) POSSESSION OF                        April 28, 2014                     6ss
METHAMPHETAMINE WITH INTENT TO
DISTRIBUTE

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

The Superseding Indictment, Second Superseding Indictment, and Count I of Third Superseding Indictment are
dismissed on the motion of the United States.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant to the
provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal
must be filed with the Clerk of this Court within fourteen (14) days of this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405 (Revised DNA
Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States attorney of any material change in the defendant’s economic circumstances.

                                                                    Date of Imposition of Sentence:
                                                                    July 08, 2015

                                                                    s/ Joseph F. Bataillon
                                                                    Senior United States District Judge

                                                                    July 8, 2015
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                                               IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a term of one hundred twenty (120) months to run concurrent to his state sentence under Docket No.
CR15-1171.

The Court makes the following recommendations to the Bureau of Prisons:

    1.    That the defendant participate in the 500-hour Comprehensive Drug Treatment Program or any similar
          drug treatment program available.

    2.    That the defendant be incarcerated in a federal facility as close to Omaha, NE as possible.

    3.    Defendant should be given credit for time served.


    (X)            The defendant is remanded to the custody of the United States Marshal.

                                    ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________, 20___.

                                                                      _____________________________
                                                                             Signature of Defendant

                                                    RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________, 20____ to
______________________________________, with a certified copy of this judgment.

                                                                      _____________________________
                                                                             UNITED STATES WARDEN

                                                                      BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                                 CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
______________, 20____.

                                                                      _____________________________
                                                                             UNITED STATES WARDEN

                                                                      BY: __________________________




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                                           SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years.

The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any
unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                              STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation
         officer;
2.       The defendant shall report to the probation officer in a manner and frequency directed by the court or
         probation officer.
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of
         the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten days prior to any change in residence or
         employment;
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate
         with any person convicted of a felony, unless granted permission to do so by the probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
         shall permit confiscation of any contraband observed in plain view of the probation officer;
11.      The defendant shall notify the probation officer within seventy-two hours of being arrested or
         questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court;
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
         the probation officer to make such notifications and to confirm the defendant’s compliance with such
         notification requirement.




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                               SPECIAL CONDITIONS OF SUPERVISION

1.       The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant to
         28 C.F.R. § 28.12, the DNA Fingerprint Act of 2005, and the Adam Walsh Child Protection and Safety
         Act of 2006, if such sample was not collected during imprisonment.

2.       Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely refraining
         from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute, or
         administer any alcohol, just the same as any other narcotic or controlled substance.

3.       The defendant shall submit his or her person, residence, office, or vehicle to a search conducted by a
         United States Probation Officer at any time; failure to submit to a search may be grounds for
         revocation; the defendant shall warn any other residents that the premises may be subject to searches
         pursuant to this condition.

4.       The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment or
         counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
         substance abuse, as directed by the probation officer.

5.       The defendant shall provide the probation officer with access to any requested financial information.

6.       Pursuant to 18 U.S.C. § 3583(d), the defendant shall submit to a drug test within fifteen (15) days of
         release on supervised release and at least two (2) periodic drug tests thereafter to determine whether
         the defendant is using a controlled substance. Further, the defendant shall submit to such testing as
         requested by any probation officer to detect the presence of alcohol or controlled substances in the
         defendant's body fluids and to determine whether the defendant has used any of those substances.
         Based on the defendant's ability to pay, the defendant shall pay for the collection of urine samples to
         be tested for the presence of alcohol and/or controlled substances in an amount to be determined by
         the probation officer.

7.       The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
         Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
         Nebraska, (402) 661-7555, within seventy-two (72) hours of being placed on probation or release from
         confinement and, thereafter, as directed by the probation officer.




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                                   CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth in this judgment.

         Total Assessment                          Total Fine                          Total Restitution

               $100.00



                                                      FINE
No fine imposed.

                                                RESTITUTION

No restitution imposed.

                                        SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $100.00 immediately.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to pay said
sum immediately if he or she has the capacity to do so. The United States of America may institute civil
collection proceedings at any time to satisfy all or any portion of the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall participate
in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program, the defendant shall
pay 50% of the available inmate institutional funds per quarter towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments to satisfy
the criminal monetary penalty in the following manner: (a) monthly installments of $100 or 3% of the
defendant’s gross income, whichever is greater; (b) the first payment shall commence 30 days following the
defendant’s discharge from incarceration, and continue until the criminal monetary penalty is paid in full; and (c)
the defendant shall be responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order of
priority: special assessment; restitution; fine; and other penalties. Unless otherwise specifically ordered, all
criminal monetary penalty payments, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, shall be made to the clerk of the Court. Unless otherwise specifically
ordered, interest shall not accrue on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S. 18th Plaza, Suite
1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances affecting
the ability to make monthly installments, or increase the monthly payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary to liquidate
and apply the proceeds of such property as full or partial payment of the criminal monetary penalty.




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CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk




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